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                                                                     July 16, 2021
BY ECF
Honorable Judge Brodie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

            Re:   United States v. Jason Christopher Hughes 17-CR-173 (MKB)

Dear Judge Brodie:
       Raymond Johnson, charged as Jason Christopher Hughes, is scheduled to appear before
this Court for sentencing on August 5, 2021 at 10:00 a.m. Counsel requests and the government
does not object to an adjournment of his sentencing. Government counsel notes that it will not
consent to any additional adjournments of Mr. Johnson’s sentencing.
       Counsel requests a lengthy adjournment to a date in December 2021 if amenable to the
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Court. Government counsel does not take any position on the length of the adjournment.


                                                                     Respectfully submitted,
                                                                     /s/ Amanda David
                                                                     Amanda David
                                                                     Counsel to Raymond Johnson
                                                                     718.330.1208



Copies to: Assistant United States Attorney Michael Keilty




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  Undersigned counsel anticipates being out on leave beginning in mid-August. Rather than transfer Mr. Johnson’s
case to another attorney in the Federal Defenders, given the length of her representation of Mr. Johnson, would
request a date later this year.
